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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND
                                      (Southern District)

RONALD CEZAIR,                                        *

       Plaintiff,                                     *

v.                                                    *      Case No. 8:13-cv-02928-DKC

JPMORGAN CHASE BANK, N.A., et al.,                    *

       Defendants.                                    *

*      *       *      *       *        *       *      *      *       *      *       *      *       *     *

                                      STIPULATION OF DISMISSAL

       Plaintiff Ronald Cezair, pro se, and Defendants JPMorgan Chase Bank, N.A. and Federal Home

Loan Mortgage Corporation, by and through counsel, stipulate to the dismissal of this case, with prejudice.

                                           Respectfully submitted,

                                                      SIMCOX AND BARCLAY, LLP

        /s/*                                   By:           /s/
Ronald Cezair                                         John S. Simcox, Esq.
9615 51st Avenue                                      Federal Bar No. 02553
College Park, MD 20740                                jss@simcoxandbarclay.com
Plaintiff, pro se

                                               By:           /s/
*Counsel hereby certifies that he                     Chad King, Esq.
has a signed copy of the foregoing                    Federal Bar No. 16888
document available for inspection                     cking@simcoxandbarclay.com
at any time by the court or a party                   Simcox and Barclay, LLP
to this action.                                       888 Bestgate Road, Suite 313
                                                      Annapolis, MD 21401
                                                      Phone: (410) 266-0610
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                                                      Attorneys for Defendants
                                                      JPMorgan Chase Bank, N.A. and
                                                      Federal Home Loan Mortgage Corporation
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                                 CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 1st day of April, 2015, a copy of the foregoing Stipulation of
Dismissal was served via first class mail, postage prepaid, on:

              Ronald Cezair
              9615 51st Avenue
              College Park, MD 20740


                                                       /s/
                                                 Chad King




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